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                                       CERTIFICATION PURSUANT TO
                                      THE FEDERAL SECURITIES LAWS
                              .     Shing yiu, N g _, cert1.fy that:
                 I, the unders1gned ______
                                          Hong Kong                                           bachelor's degree
                 1.     I am a resident                                   . I have a                           . I work as a
director of my company          10
                  ___ and have ___ years of investing experience.

                 2.     I have reviewed the complaint and have authorized its filing and/or the filing of a

        Lead Plaintiff motion on my behalf.

                 3.     I did not purchase the securities that are the subject of this action at the direction of

        counsel or in order to participate in any action arising under the federal securities laws.

                 4.     I want to serve as a lead plaintiff and representative party on behalf of the class,

        including providing testimony at deposition and trial. I fully understand the duties and

        responsibilities of the lead plaintiff under the Private Securities Litigation Reform Act, including

        the selection and retention of counsel and overseeing the prosecution of the action for the class.

                 5.     Attached hereto as Schedule A is a complete listing of all my Terra-blockchain

        transactions during the Class Period.

                 6.     I have not served as a representative party on behalf of a class under this title during

        the last three years.

                 7.     I will not accept any payment for serving as a representative party on behalf of the

        class beyond my pro rata share of any recovery, except such reasonable costs and expenses directly

        relating to the representation of the Class, as ordered or approved by the Court.

                 I declare under penalty of perjury under the laws of the United States of America that the

        foregoing is true and correct.


                 08/20/2022
        Dated:                                                  Shing yiu,Ng (Aug 20, 202211:51 GMT+8)
                                                                Shmg y1u,Ng
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                           SCHEDULE A
                           Certification Chart 1 - Ng

  Date &Time         Transaction                 Quantity    Trading Price
4/20/2022 12:18          Buy                    17308UST    1.003400USDT
4/20/2022 12:18          Buy                     2056UST    1.003400USDT
4/20/2022 12:18          Buy                    47531UST    1.003400USDT
4/20/2022 12:18          Buy                    23553UST    1.003400USDT
4/20/2022 12:18          Buy                    71349UST    1.003400USDT
4/20/2022 12:18          Buy                      67UST     1.003400USDT
4/20/2022 12:18          Buy                    33457UST    1.003400USDT
4/20/2022 12:18          Buy                    18603UST    1.003400USDT
4/20/2022 12:18          Buy                    32192UST    1.003400USDT
4/20/2022 12:18          Buy                      30UST     1.003400USDT
4/20/2022 12:18          Buy                      562UST    1.003400USDT
4/20/2022 12:18          Buy                      724UST    1.003400USDT
4/20/2022 12:18          Buy                    3500UST     1.003400USDT
4/20/2022 12:18          Buy                     8443UST    1.003400USDT
4/20/2022 12:18          Buy                     2455UST    1.003400USDT
4/20/2022 12:18          Buy                    15290UST    1.003400USDT
4/20/2022 12:18          Buy                    10000UST    1.003400USDT
4/20/2022 12:18          Buy                      153UST    1.003400USDT
4/20/2022 12:18          Buy                    16170UST    1.003400USDT
4/20/2022 12:18          Buy                    10622UST    1.003400USDT
4/20/2022 12:18          Buy                    32421UST    1.003400USDT
4/20/2022 12:18          Buy                    28221UST    1.003400USDT
4/20/2022 12:18          Buy                      648UST    1.003400USDT
4/20/2022 12:18          Buy                    3286UST     1.003400USDT
4/20/2022 12:18          Buy                     2250UST    1.003400USDT
4/20/2022 12:18          Buy                     1000UST    1.003400USDT
4/20/2022 12:18          Buy                    12928UST    1.003400USDT
4/20/2022 12:18          Buy                    3186UST     1.003400USDT
4/20/2022 12:18          Buy                     7430UST    1.003400USDT
4/20/2022 12:18          Buy                     6015UST    1.003400USDT
4/20/2022 12:18          Buy                    49829UST    1.003400USDT
4/20/2022 12:18          Buy                    49829UST    1.003400USDT
4/20/2022 12:18          Buy                    31894UST    1.003400USDT
4/20/2022 12:18          Buy                    31894UST    1.003400USDT
4/20/2022 12:18          Buy                    31894UST    1.003400USDT
4/20/2022 12:18          Buy                    31894UST    1.003400USDT
4/20/2022 12:18          Buy                    15752UST    1.003400USDT
4/20/2022 12:18          Buy                    3986UST     1.003400USDT
4/20/2022 12:18          Buy                     1993UST    1.003400USDT
4/20/2022 12:18          Buy                     1993UST    1.003400USDT
4/20/2022 12:18          Buy                     1993UST    1.003400USDT
4/20/2022 12:18          Buy                      998UST    1.003400USDT
4/20/2022 12:18          Buy                    13650UST    1.003400USDT
4/20/2022 12:18          Buy                    3986UST     1.003400USDT
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4/20/2022 12:18          Buy              1992UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy                616UST         1.003400USDT
4/20/2022 12:18          Buy              1000UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy              1993UST          1.003400USDT
4/20/2022 12:18          Buy                113UST         1.003400USDT
4/20/2022 12:19          Buy                600UST         1.003400USDT
4/20/2022 12:19          Buy                200UST         1.003400USDT
4/20/2022 12:19          Buy              4972UST          1.003400USDT
4/20/2022 12:19          Buy              2253UST          1.003400USDT
4/20/2022 12:19          Buy              2500UST          1.003400USDT
4/20/2022 12:19          Buy                150UST         1.003400USDT
4/20/2022 12:19          Buy                100UST         1.003400USDT
4/20/2022 12:20          Buy               320UST          1.003400USDT
4/20/2022 12:20          Buy                219UST         1.003400USDT
4/20/2022 12:20          Buy                698UST         1.003400USDT
4/20/2022 12:20          Buy                200UST         1.003400USDT
4/20/2022 12:20          Buy              1700UST          1.003400USDT
4/20/2022 12:20          Buy                 26UST         1.003400USDT
4/20/2022 12:21          Buy                290UST         1.003400USDT
4/20/2022 12:21          Buy                 20UST         1.003400USDT
4/20/2022 12:22          Buy              13008UST         1.003500USDT
4/20/2022 12:22          Buy               8222UST         1.003500USDT
4/20/2022 12:22          Buy              17893UST         1.003500USDT
4/20/2022 12:22          Buy              2185UST          1.003500USDT
4/20/2022 12:22          Buy              7695UST          1.003500USDT
4/20/2022 12:22          Buy              16076UST         1.003500USDT
4/20/2022 12:22          Buy              5509UST          1.003500USDT
4/20/2022 12:22          Buy              7964UST          1.003500USDT
4/20/2022 12:22          Buy              11685UST         1.003500USDT
4/20/2022 12:22          Buy              15050UST         1.003500USDT
4/20/2022 12:22          Buy             33000UST          1.003500USDT
4/20/2022 12:22          Buy              11403UST         1.003500USDT
4/20/2022 12:22          Buy              2484UST          1.003500USDT
4/20/2022 12:22          Buy              2928UST          1.003500USDT
4/20/2022 12:22          Buy              12777UST         1.003500USDT
4/20/2022 12:22          Buy              6814UST          1.003500USDT
4/20/2022 12:22          Buy              2670UST          1.003500USDT
4/20/2022 12:22          Buy              1000UST          1.003500USDT
4/20/2022 12:22          Buy              2893UST          1.003500USDT
4/20/2022 12:22          Buy             100389UST         1.003500USDT
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                         Certification Chart 2 - Ng

  Date& Time                   Transaction                  Quantity
 3/9/2022 18:20                   Send                 49.867128 USTC
 3/9/2022 19:06                 cw20Mint                39.726888 aUST
 3/9/2022 19:06                   Send                       48 USTC
3/10/2022 15:34                   Send                 48.020001 USTC
3/10/2022 15:34                 cw20Send                39.726136 aUST
3/10/2022 15:37                   Send                       10 USTC
3/10/2022 17:18                   Send                     108.8 USTC
3/10/2022 18:02                   Send                    9998.8 USTC
3/10/2022 18:33                   Send                  206577.8 USTC
3/10/2022 18:35                 cw20Mint                179276.05 aUST
3/10/2022 18:35                   Send                    216720 USTC
3/11/2022 17:33                   Send                  291408.8 USTC
3/11/2022 17:37                 cw20Mint                240927.45 aUST
3/11/2022 17:37                   Send                    291412 USTC
3/12/2022 15:26                   Send                  92977.43 USTC
3/12/2022 17:45                 cw20Mint                 76830.13 aUST
3/12/2022 17:45                   Send                    92977 USTC
3/12/2022 21:02                   Send                    1583.8 USTC
3/12/2022 21:08                   Send                      100 USTC
3/13/2022 11:33                   Send                  227262.8 USTC
3/13/2022 14:40                 cw20Mint                188925.62 aUST
3/13/2022 14:40                   Send                    228746 USTC
3/14/2022 11:10                   Send                  149623.8 USTC
3/14/2022 11:12                 cw20Mint                123522.06 aUST
3/14/2022 11:12                   Send                    149623 USTC
3/14/2022 13:19                   Send                 378.355197 USTC
3/14/2022 13:21                 cw20Mint               312.838162 aUST
3/14/2022 13:21                   Send                   378.969 USTC
3/17/2022 10:29                 cw20Send                82419.44 aUST
3/17/2022 20:15                   Send                    100000 USTC
3/17/2022 20:15                 cw20Send                82401.43 aUST
3/17/2022 20:17                   Send                    33333 USTC
3/17/2022 20:20                   Send                   66665.7 USTC
3/25/2022 22:45                   Send                 63.175161 USTC
3/25/2022 22:52               cw20Transfer              28822.06 Token
3/25/2022 22:52                   Send                  46919.66 USTC
3/25/2022 22:52                   Send                  46749.06 USTC
3/25/2022 22:52                 cw20Send                28822.06 Token
3/25/2022 22:54               cw20Transfer               8.472061 SPEC
3/25/2022 22:55                   Send                 23.715391 USTC
3/25/2022 22:55                 cw20Send                 8.472061 SPEC
3/25/2022 22:59                   Send                    30000 USTC
3/26/2022 15:43                   Send                     5000 USTC
3/26/2022 18:46                   Send                     3000 USTC
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3/27/2022 15:51                  Send                      5000 USTC
3/27/2022 19:02                  Send                      5000 USTC
3/28/2022 0:34                   Send                     23700 USTC
3/28/2022 11:23              cw20Transfer                82245.56 aUST
3/28/2022 11:35               cw20Send                   40962.77 aUST
3/28/2022 19:24                  Send                     22000 USTC
3/28/2022 21:29                  Send                     38000 USTC
3/28/2022 21:29               cw20Send                   31124.89 aUST
3/28/2022 21:32                  Send                     38000 USTC
3/29/2022 1:08                   Send                     100000 USTC
3/29/2022 1:08                cw20Send                   81896.53 aUST
3/29/2022 1:10                   Send                     100000 USTC
3/29/2022 8:15               cw20Transfer                1.825851 SPEC
3/29/2022 8:15               cw20Transfer              159.216651 SPEC
3/29/2022 8:18                   Send                  223.903085 USTC
3/29/2022 8:18                cw20Send                       74 SPEC
3/29/2022 8:20             cw20TransferFrom             87.042502 SPEC
3/29/2022 8:20                   Send                  264.137405 USTC
3/29/2022 15:08              cw20Transfer                40955.23 aUST
3/29/2022 15:11                  Send                     50000 USTC
3/29/2022 15:11               cw20Send                   40936.17 aUST
3/29/2022 15:14                  Send                     50000 USTC
3/29/2022 20:14                  Send                     100000 USTC
3/29/2022 20:14               cw20Send                   81860.78 aUST
3/29/2022 20:16                  Send                     100000 USTC
3/30/2022 7:54               cw20Transfer              222.443259 SPEC
3/30/2022 7:56                   Send                  353.760479 USTC
3/30/2022 7:56                cw20Send                      111 SPEC
3/30/2022 7:58             cw20TransferFrom            111.443259 SPEC
3/30/2022 7:58                   Send                   356.22366 USTC
3/30/2022 8:34               cw20Transfer              1.013734 ASTROC
3/30/2022 8:34                   Send                       2.4 USTC
3/30/2022 8:35             cw20TransferFrom            1.013734 ASTROC
3/30/2022 8:35                   Send                   2.392799 USTC
3/30/2022 10:12                  Send                  210.000003 USTC
3/30/2022 10:12               cw20Send                  171.85773 aUST
3/30/2022 10:13                  Send                       100 USTC
3/30/2022 10:14                  Send                       100 USTC
3/30/2022 18:10                  Send                     50000 USTC
3/30/2022 18:10               cw20Send                  40909.92 aUST
3/30/2022 18:11                  Send                     50000 USTC
3/31/2022 9:48               cw20Transfer              294.348916 SPEC
3/31/2022 9:50                   Send                  475.684319 USTC
3/31/2022 9:50                cw20Send                      148 SPEC
3/31/2022 9:51             cw20TransferFrom            146.348916 SPEC
3/31/2022 9:51                   Send                  471.760795 USTC
3/31/2022 15:08                  Send                     150000 USTC
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3/31/2022 15:08               cw20Send                  122676.03 aUST
3/31/2022 15:10                  Send                      100000 USTC
3/31/2022 15:13                  Send                       50000 USTC
3/31/2022 22:11                  Send                   400669.41 USTC
3/31/2022 22:11               cw20Send                  327635.12 aUST
3/31/2022 22:13                  Send                      100650 USTC
3/31/2022 22:38                  Send                      100000 USTC
 4/1/2022 9:31               cw20Transfer              0.003941 ASTROC
 4/1/2022 9:31               cw20Transfer                1.541665 Token
 4/1/2022 9:52               cw20Transfer              0.972726 ASTROC
 4/1/2022 9:52                   Send                    2.497578 USTC
 4/1/2022 9:52                cw20Send                   1.541665 Token
 4/1/2022 9:53                   Send                    2.500699 USTC
 4/1/2022 9:53                cw20Send                 0.976667 ASTROC
 4/1/2022 9:55               cw20Transfer              177.471673 Token
 4/1/2022 9:55                   Send                   49.808698 USTC
 4/1/2022 9:55                   Send                   49.658137 USTC
 4/1/2022 9:55                cw20Send                 177.471673 Token
 4/1/2022 10:02              cw20Transfer              369.990847 SPEC
 4/1/2022 10:03            cw20TransferFrom            369.990847 SPEC
 4/1/2022 10:03                  Send                     1205.88 USTC
 4/1/2022 14:57                  Send                      100000 USTC
 4/1/2022 15:00                  Send                       98900 USTC
 4/2/2022 10:01              cw20Transfer                5.754427 SPEC
 4/2/2022 10:01              cw20Transfer              476.789693 SPEC
 4/2/2022 10:01              cw20Transfer                 0.00121 SPEC
 4/2/2022 10:01              cw20Transfer                6.387507 SPEC
 4/2/2022 10:03                  Send                  781.832603 USTC
 4/2/2022 10:03               cw20Send                      244.5 SPEC
 4/2/2022 10:04            cw20TransferFrom             244.432837 SPEC
 4/2/2022 10:04                  Send                  783.884512 USTC
 4/3/2022 12:37              cw20Transfer            1691.16 mAMDUST LP
 4/3/2022 12:37                  Send                    18971.64 USTC
 4/3/2022 12:37                  Send                    18587.12 USTC
 4/3/2022 12:37               cw20Send               1691.16 mAMDUST LP
 4/3/2022 12:40                  Send                       37572 USTC
 4/3/2022 16:37              cw20Transfer               0.025768 Token
 4/3/2022 16:37                  Send                    0.006867 USTC
 4/3/2022 16:37                  Send                    0.006847 USTC
 4/3/2022 16:37               cw20Send                  0.025768 Token
 4/5/2022 22:24                  Send                         7 USTC
 4/8/2022 9:23                   Send                       10999 USTC
 4/8/2022 9:28               cw20Transfer                 25.97154 SPEC
 4/8/2022 9:29               cw20Transfer                  2753.78 SPEC
 4/8/2022 9:31             cw20TransferFrom                2779.75 SPEC
 4/8/2022 9:31                   Send                     10402.9 USTC
 4/8/2022 12:13                  Send                        6726 USTC
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 4/8/2022 12:28                 Send                      7310.93 USTC
 4/8/2022 22:33                 Send                     31190.01 USTC
4/8/2022 22:34                  Send                     31190.78 USTC
4/9/2022 23:02               cw20Transfer              161.565691 SAYVE
 4/9/2022 23:02                 Send                          4 USTC
4/10/2022 18:47            cw20TransferFrom                  150 SAYVE
4/10/2022 18:47                 Send                     3.697516 USTC
4/12/2022 22:01                 Send                    143941.18 USTC
4/12/2022 22:06              cw20Transfer                 1.514153 SPEC
4/12/2022 22:06              cw20Transfer                  2292.79 SPEC
4/12/2022 22:06              cw20Transfer                0.000378 SPEC
4/12/2022 22:06              cw20Transfer                0.000762 SPEC
4/12/2022 22:06              cw20Transfer                20.854789 SPEC
4/12/2022 22:07            cw20TransferFrom                2315.16 SPEC
4/12/2022 22:07                 Send                       7276.9 USTC
4/12/2022 22:12                 Send                        20000 USTC
4/13/2022 10:25               cw20Mint                   94750.59 aUST
4/13/2022 10:25                 Send                       116660 USTC
4/13/2022 11:26              cw20Transfer         66276.35 SAYVEUST LP Token
4/13/2022 11:26                 Send                     10982.36 USTC
4/13/2022 11:26                 Send                     10782.63 USTC
4/13/2022 11:26               cw20Send            66276.35 SAYVEUST LP Token
4/14/2022 20:17              cw20Transfer                  1069.98 SPEC
4/14/2022 20:17              cw20Transfer                0.190842 SPEC
4/14/2022 20:17              cw20Transfer                0.000103 SPEC
4/14/2022 20:17              cw20Transfer                 9.215752 SPEC
4/14/2022 20:18            cw20TransferFrom                1079.39 SPEC
4/14/2022 20:18                 Send                      3931.89 USTC
4/14/2022 21:18                 Send                    116752.61 USTC
4/14/2022 21:18               cw20Send                   94750.59 aUST
 4/15/2022 0:41                 Send                        68000 USTC
 4/16/2022 9:33              cw20Transfer               875.218657 SPEC
 4/16/2022 9:33              cw20Transfer                  1.22912 SPEC
 4/16/2022 9:33              cw20Transfer                 7.475183 SPEC
 4/16/2022 9:33              cw20Transfer                0.000082 SPEC
 4/16/2022 9:33            cw20TransferFrom             883.923042 SPEC
 4/16/2022 9:33                 Send                      3036.04 USTC
 4/16/2022 9:35                 Send                      63549.7 USTC
 4/16/2022 9:40              cw20Transfer               30.300572 Token
 4/16/2022 9:40                 Send                     3.200442 USTC
 4/16/2022 9:40                 Send                     3.190838 USTC
 4/16/2022 9:40               cw20Send                  30.300572 Token
 4/16/2022 9:58              cw20Transfer         768903.63 PsiUST Astroport LP
4/16/2022 9:58                  Send                    153345.27 USTC
4/16/2022 9:58                  Send                    150004.11 USTC
4/16/2022 9:58                cw20Send            768903.63 PsiUST Astroport LP
4/16/2022 10:00                 Send                     303354.6 USTC
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4/16/2022 10:16              ew20Transfer         242612.56 SAYVEUST LP Token
4/16/2022 10:16                 Send                     27392.85 USTC
4/16/2022 10:16                 Send                     26559.45 USTC
4/16/2022 10:16               ew20Send            242612.56 SAYVEUST LP Token
4/16/2022 10:17                 Send                     53951.63 USTC
4/20/2022 20:30                 Send                         99 USTC
4/20/2022 20:39                 Send                       996499 USTC
4/20/2022 20:48                 Send                       600000 USTC
4/20/2022 20:49                 Send                    396597.42 USTC
4/22/2022 21:18                 Send                     0.157702 USTC
4/22/2022 21:18               ew20Send                 11.565691 SAYVE
4/22/2022 22:12              ew20Transfer               151005.61 Token
4/22/2022 22:12                 Send                    290424.63 USTC
4/22/2022 22:12                 Send                    287549.51 USTC
4/22/2022 22:12               ew20Send                  151005.61 Token
4/22/2022 22:13                 Send                       288900 USTC
4/22/2022 22:14                 Send                    289073.49 USTC
4/22/2022 22:15              ew20Transfer                 5811.61 SPEC
4/22/2022 22:15              ew20Transfer                0.005295 SPEC
4/22/2022 22:15              ew20Transfer                7.752655 SPEC
4/22/2022 22:15              ew20Transfer             527.143759 ASTROC
4/22/2022 22:15              ew20Transfer                0.088862 SPEC
4/22/2022 22:15              ew20Transfer                0.029952 SPEC
4/22/2022 22:18                 Send                     14483.97 USTC
4/22/2022 22:18               ew20Send                      2909 SPEC
4/22/2022 22:19            ew20TransferFrom               2903.48 SPEC
4/22/2022 22:19                 Send                      14478.3 USTC
4/22/2022 22:20                 Send                      1838.29 USTC
4/22/2022 22:20               ew20Send                527.143759 ASTROC
4/22/2022 22:21                 Send                      1842.46 USTC
 4/24/2022 0:06              ew20Transfer                96273.7 Token
 4/24/2022 0:06                 Send                    135501.49 USTC
 4/24/2022 0:06                 Send                    132848.54 USTC
 4/24/2022 0:06               ew20Send                   96273.7 Token
 4/24/2022 0:07              ew20Transfer                 1315.38 SPEC
 4/24/2022 0:07              ew20Transfer                5.032213 SPEC
 4/24/2022 0:09              ew20Transfer                26636.26 SPEC
 4/24/2022 0:09                 Send                       131000 USTC
 4/24/2022 0:14            ew20TransferFrom              27630.67 SPEC
 4/24/2022 0:14                 Send                    137342.87 USTC
4/26/2022 13:13                 Send                      0.094069 Lune
4/26/2022 13:13                 Send                          9 USTC
4/26/2022 13:16               ew20Mint                   0.094068 bLuna
4/26/2022 13:16                 Send                      0.094069 Lune
4/26/2022 13:18                 Send                    57.783269 USTC
4/26/2022 13:18               ew20Send                       10 SPEC
4/26/2022 13:18               ew20Send                   0.094068 bLuna
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4/26/2022 13:25                Send                        5.404 USTC
4/26/2022 23:38                Send                     243673.97 USTC
4/26/2022 23:41                Send                       2657.26 Lune
4/26/2022 23:41                Send                       243730 USTC
4/26/2022 23:46              ew20Mint                    2657.24 bLuna
4/26/2022 23:46                Send                       2657.26 Lune
4/26/2022 23:47              ew20Send                    2657.24 bLuna
 4/27/2022 0:47                Send                     376953.43 USTC
 4/27/2022 0:51                Send                       4201.23 Lune
 4/27/2022 0:51                Send                       376900 USTC
 4/27/2022 0:53              ew20Mint                     4201.2 bLuna
 4/27/2022 0:53                Send                       4201.23 Lune
 4/27/2022 0:54              ew20Send                     4201.2 bLuna
 4/27/2022 0:55                Send                     368223.36 USTC
 4/27/2022 0:58                Send                     368278.63 USTC
4/28/2022 20:19             ew20Transfer                56.936649 ANC
4/28/2022 20:25             ew20Transfer                56.936649 ANC
4/29/2022 20:13                Send                           2 USTC
4/29/2022 21:09                Send                      1591.46 USTC
4/29/2022 21:09              ew20Send                       323 SPEC
4/29/2022 21:11                Send                        1580 USTC
4/30/2022 14:19             ew20Transfer                55.755792 ANC
4/30/2022 14:28             ew20Transfer                55.755792 ANC
 5/2/2022 13:25             ew20Transfer                65.753109 ANC
 5/2/2022 13:26                Send                    111.017045 USTC
 5/2/2022 13:26              ew20Send                   65.753109 ANC
 5/2/2022 13:27                Send                         120 USTC
 5/3/2022 14:33             ew20Transfer                34.504583 ANC
 5/3/2022 14:34                Send                     60.049351 USTC
 5/3/2022 14:34              ew20Send                   34.504583 ANC
 5/3/2022 14:37                Send                          58 USTC
 5/3/2022 14:49                Send                     30.321549 USTC
 5/3/2022 14:51                Send                      0.295148 Lune
 5/4/2022 20:49             ew20Transfer               45000 SPECUST LP
 5/4/2022 20:49             ew20Transfer                 23455.68 SPEC
 5/4/2022 20:49             ew20Transfer                101415.09 USTC
 5/4/2022 20:49              ew20Send                  45000 SPECUST LP
 5/4/2022 20:53                Send                          10 USTC
 5/4/2022 20:57                Send                       101400 USTC
 5/4/2022 22:08              ew20Send                    23455.68 SPEC
 5/4/2022 23:47             ew20Transfer               45000 SPECUST LP
 5/4/2022 23:47             ew20Transfer                 23553.21 SPEC
 5/4/2022 23:47             ew20Transfer                100997.78 USTC
 5/4/2022 23:47              ew20Send                  45000 SPECUST LP
 5/4/2022 23:52                Send                       101000 USTC
 5/4/2022 23:52              ew20Send                    23553.21 SPEC
  5/5/2022 6:58             ew20Transfer              100000 SPECUST LP
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 5/5/2022 6:58             cw20Transfer                  51167.8 SPEC
 5/5/2022 6:58             cw20Transfer                229610.58 USTC
 5/5/2022 6:58              cw20Send                 100000 SPECUST LP
5/5/2022 6:59               cw20Send                     51167.8 SPEC
 5/5/2022 7:02                Send                       229600 USTC
5/5/2022 15:16             cw20Transfer               45000 SPECUST LP
5/5/2022 15:16             cw20Transfer                 22830.69 SPEC
5/5/2022 15:16             cw20Transfer                104211.48 USTC
5/5/2022 15:16              cw20Send                  45000 SPECUST LP
5/5/2022 15:16             cw20Transfer                64.662411 ANC
5/5/2022 15:18              cw20Send                    22830.69 SPEC
5/5/2022 15:19                Send                    121.884064 USTC
5/5/2022 15:19              cw20Send                   64.662411 ANC
5/5/2022 15:25                Send                       104350 USTC
5/5/2022 19:01             cw20Transfer               45000 SPECUST LP
5/5/2022 19:01             cw20Transfer                 22804.24 SPEC
5/5/2022 19:01             cw20Transfer                104334.18 USTC
5/5/2022 19:01              cw20Send                  45000 SPECUST LP
5/5/2022 19:02              cw20Send                    22804.24 SPEC
5/5/2022 19:03                Send                     104313.91 USTC
5/7/2022 11:30             cw20Transfer                60.017761 ANC
5/7/2022 11:32                Send                     127.09255 USTC
5/7/2022 11:32              cw20Send                   60.017761 ANC
5/7/2022 11:33                Send                         170 USTC
5/7/2022 12:38             cw20Transfer               18000 SPECUST LP
5/7/2022 12:38             cw20Transfer                  9466.43 SPEC
5/7/2022 12:38             cw20Transfer                 40235.06 USTC
5/7/2022 12:38              cw20Send                  18000 SPECUST LP
5/7/2022 12:39              cw20Send                     9466.43 SPEC
5/7/2022 12:40                Send                        40000 USTC
 5/8/2022 9:12             cw20Transfer               15000 SPECUST LP
 5/8/2022 9:12             cw20Transfer                  8281.27 SPEC
 5/8/2022 9:12             cw20Transfer                 31957.25 USTC
 5/8/2022 9:12              cw20Send                  15000 SPECUST LP
 5/8/2022 9:13                Send                        32100 USTC
 5/8/2022 9:15              cw20Send                     8281.27 SPEC
5/8/2022 20:55             cw20Transfer               26000 SPECUST LP
5/8/2022 20:55             cw20Transfer                 14838.28 SPEC
5/8/2022 20:55             cw20Transfer                 53594.97 USTC
5/8/2022 20:55              cw20Send                  26000 SPECUST LP
5/8/2022 20:57                Send                        53650 USTC
5/8/2022 20:59              cw20Send                    14838.28 SPEC
5/10/2022 3:31             cw20Transfer               25000 SPECUST LP
5/10/2022 3:31             cw20Transfer                 16444.41 SPEC
5/10/2022 3:31             cw20Transfer                 44749.08 USTC
5/10/2022 3:31              cw20Send                  25000 SPECUST LP
5/10/2022 3:32                Send                        44760 USTC
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 5/10/2022 5:57             cw20Transfer               25000 SPECUST LP
 5/10/2022 5:57             cw20Transfer                 16744.61 SPEC
 5/10/2022 5:57             cw20Transfer                  43959.8 USTC
 5/10/2022 5:57               cw20Send                 25000 SPECUST LP
 5/10/2022 5:58                 Send                       43980 USTC
 5/10/2022 8:12             cw20Transfer               20000 SPECUST LP
 5/10/2022 8:12             cw20Transfer                  13788.8 SPEC
 5/10/2022 8:12             cw20Transfer                 34173.53 USTC
 5/10/2022 8:12               cw20Send                 20000 SPECUST LP
 5/10/2022 8:17                 Send                       30000 USTC
 5/10/2022 8:20           MsgExecuteContract                    0
 5/10/2022 8:42               cw20Send                   33189.02 SPEC
 5/10/2022 9:15                 Send                        4150 USTC
5/10/2022 11:06               cw20Send                    13788.8 SPEC
5/10/2022 11:17             cw20Transfer               25000 SPECUST LP
5/10/2022 11:17             cw20Transfer                 17517.24 SPEC
5/10/2022 11:17             cw20Transfer                 42035.99 USTC
5/10/2022 11:17               cw20Send                 25000 SPECUST LP
5/10/2022 11:18                 Send                       42000 USTC
5/10/2022 11:20               cw20Send                   17517.24 SPEC
 5/11/2022 6:41           MsgExecuteContract                    0
 5/11/2022 6:41           MsgExecuteContract                    0
 5/11/2022 6:41           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
 5/11/2022 6:42           MsgExecuteContract                    0
5/11/2022 10:05             cw20Transfer             14464.36 SPECUST LP
5/11/2022 10:05             cw20Transfer                 11803.09 SPEC
5/11/2022 10:05             cw20Transfer                 20905.06 USTC
5/11/2022 10:05               cw20Send               14464.36 SPECUST LP
5/11/2022 10:07                 Send                     0.004619 USTC
5/11/2022 10:07                 Send                     16869.91 USTC
5/11/2022 12:35           MsgExecuteContract                    0
5/11/2022 17:06               cw20Send                   11803.09 SPEC
5/11/2022 21:30             cw20Transfer              130181 SPECUST LP
5/11/2022 21:30             cw20Transfer                139730.84 SPEC
5/11/2022 21:30             cw20Transfer                143170.24 USTC
5/11/2022 21:30               cw20Send                130181 SPECUST LP
5/11/2022 21:34                 Send                      147270 USTC
5/11/2022 23:18                 Send                    130198.37 USTC
5/11/2022 23:18               cw20Send                  139730.84 SPEC
5/11/2022 23:33                 Send                      1149.55 Lune
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5/11/2022 23:33                Send                      287.2365 Lune
5/11/2022 23:33                Send                      27432.74 Lune
5/11/2022 23:33                Send                     130199.91 USTC
5/11/2022 23:38                Send                           1 Lune
5/11/2022 23:41                Send                        28867 Lune
5/11/2022 23:43             ew20Transfer                252695.75 SPEC
5/11/2022 23:51             ew20Transfer                 22659.2 SPEC
 5/12/2022 0:00                Send                    238297.97 USTC
 5/12/2022 0:00                Send                      0.00009 USTC
 5/12/2022 0:00           ew20TransferFrom              275354.95 SPEC
 5/12/2022 0:00                Send                         0.1 USTC
 5/12/2022 0:02                Send                       1861.05 Lune
 5/12/2022 0:02                Send                    616.675939 Lune
 5/12/2022 0:02                Send                       59596.7 Lune
 5/12/2022 0:02                Send                    238297.32 USTC
 5/12/2022 0:06             ew20Transfer               344.135029 aUST
 5/12/2022 0:06                Send                    429.936582 USTC
 5/12/2022 0:06              ew20Send                  344.135029 aUST
 5/12/2022 1:52                Send                          11 Lune
 5/12/2022 1:59                Send                      62065.25 Lune
5/24/2022 16:22             ew20Transfer               100.622059 ANC
5/24/2022 16:25                Send                    636.936015 USTC
5/24/2022 16:25              ew20Send                  100.622059 ANC
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                                  Certification Chart 3 - Ng
    Oate&Time          Transaction                     Quantity     USO Amount USO
03/10/2022 08:58:56       Buy                    19910.675757 UST        $1.00
03/10/2022 08:58:56       Buy                      995.533788 UST        $1.00
03/10/2022 08:58:57       Buy                    19910.675757 UST        $1.00
03/10/2022 08:58:57       Buy                      995.533788 UST        $1.00
03/10/2022 08:58:57       Buy                    19910.675757 UST        $1.00
03/10/2022 08:58:57       Buy                    19910.675757 UST        $1.00
03/10/2022 08:58:58       Buy                    19910.675757 UST        $1.00
03/10/2022 08:58:58       Buy                      995.533788 UST        $1.00
03/10/2022 08:59:47       Buy                      149.332045 UST        $1.00
03/10/2022 09:04:44       Buy                          1500 UST          $1.00
03/10/2022 09:04:58       Debit                         100 UST
03/10/2022 09:05:14       Buy                     818.880762 UST        $1.00
03/10/2022 09:08:02       Buy                     4786.894675 UST       $1.00
03/10/2022 09:08:02       Buy                          1000 UST         $1.00
03/10/2022 09:09:43       Buy                      6327.54052 UST       $1.00
03/10/2022 09:09:43       Buy                    13583.021821 UST       $1.00
03/10/2022 09:09:43       Buy                      995.528118 UST       $1.00
03/10/2022 09:09:44       Buy                    19910.562341 UST       $1.00
03/10/2022 09:09:44       Buy                    19910.562341 UST       $1.00
03/10/2022 09:10:53       Buy                    19912.748707 UST       $1.00
03/10/2022 09:10:53       Buy                      995.637436 UST       $1.00
03/10/2022 09:10:53       Buy                    19912.748707 UST       $1.00
03/10/2022 09:10:54       Buy                      995.616612 UST       $1.00
03/10/2022 09:10:54       Buy                     3340.579596 UST       $1.00
03/10/2022 09:51:37       Debit                       10000 UST
03/10/2022 10:25:15       Debit                    206579.63 UST
03/11/2022 02:13:29       Buy                    11082.813816 UST       $1.00
03/11/2022 02:13:29       Buy                    19910.472175 UST       $1.00
03/11/2022 02:13:29       Buy                    19910.472175 UST       $1.00
03/11/2022 02:13:30       Buy                    19910.472175 UST       $1.00
03/11/2022 02:13:30       Buy                    19910.472175 UST       $1.00
03/11/2022 02:19:11       Buy                    19916.495702 UST       $1.00
03/11/2022 02:19:12       Buy                      15.996419 UST        $1.00
03/11/2022 02:24:08       Buy                       9.471026 UST        $1.00
03/11/2022 03:08:46       Buy                      986.859044 UST       $1.00
03/11/2022 03:22:45       Buy                      13.376237 UST        $1.00
03/11/2022 03:24:06       Buy                        0.807466 UST       $1.00
03/11/2022 03:28:57       Buy                      97.034029 UST        $1.00
03/11/2022 03:39:38       Buy                      1935.12265 UST       $1.00
03/11/2022 03:43:35       Buy                          5700 UST         $1.00
03/11/2022 03:43:47       Buy                          2200 UST         $1.00
03/11/2022 05:42:15       Buy                       59.446678 UST       $1.00
03/11/2022 05:55:17       Buy                           881 UST         $1.00
03/11/2022 06:31:59       Buy                       49.172017 UST       $1.00
03/11/2022 07:12:07       Buy                      486.741443 UST       $1.00
03/11/2022 07:24:33       Buy                     1965.712519 UST       $1.00
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03/11/2022 08:24:02       Buy              17.918683 UST            $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy             349.261748 UST            $1.00
03/11/2022 08:57:33       Buy              59.79075 UST             $1.00
03/11/2022 08:57:33       Buy             995.721935 UST            $1.00
03/11/2022 08:57:33       Buy               4157.1 UST              $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy                4500 UST               $1.00
03/11/2022 08:57:33       Buy            19911.901831 UST           $1.00
03/11/2022 08:57:34       Buy             995.595092 UST            $1.00
03/11/2022 08:57:34       Buy            19911.901831 UST           $1.00
03/11/2022 08:57:35       Buy             995.573276 UST            $1.00
03/11/2022 08:57:36       Buy             995.552452 UST            $1.00
03/11/2022 08:57:37       Buy             995.552452 UST            $1.00
03/11/2022 08:57:38       Buy             995.552452 UST            $1.00
03/11/2022 08:57:38       Buy             995.552452 UST            $1.00
03/11/2022 08:57:39       Buy             995.552452 UST            $1.00
03/11/2022 08:57:41       Buy             995.552452 UST            $1.00
03/11/2022 08:57:42       Buy             995.552452 UST            $1.00
03/11/2022 08:57:43       Buy             995.552452 UST            $1.00
03/11/2022 08:57:44       Buy             995.552452 UST            $1.00
03/11/2022 08:57:44       Buy             995.552452 UST            $1.00
03/11/2022 08:57:45       Buy             995.552452 UST            $1.00
03/11/2022 08:57:46       Buy             995.552452 UST            $1.00
03/11/2022 09:02:49       Buy            9997.598308 UST            $1.00
03/11/2022 09:02:57       Buy             2529.34869 UST            $1.00
03/11/2022 09:16:09       Debit             291410 UST
03/11/2022 09:24:06       Buy             106.650197 UST            $1.00
03/11/2022 09:51:50       Buy            19910.707927 UST           $1.00
03/11/2022 09:51:50       Buy             995.535397 UST            $1.00
03/11/2022 09:51:50       Buy            19910.707927 UST           $1.00
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03/11/2022 09:51:51       Buy            19910.707927 UST           $1.00
03/11/2022 09:51:51       Buy             995.535397 UST            $1.00
03/11/2022 09:51:51       Buy             995.535397 UST            $1.00
03/11/2022 09:55:58       Buy             995.526172 UST            $1.00
03/11/2022 09:55:59       Buy             995.526172 UST            $1.00
03/11/2022 09:56:00       Buy             995.526172 UST            $1.00
03/11/2022 09:56:00       Buy             995.526172 UST            $1.00
03/11/2022 09:56:01       Buy             995.526172 UST            $1.00
03/11/2022 09:56:02       Buy             995.526172 UST            $1.00
03/11/2022 09:56:03       Buy             995.526172 UST            $1.00
03/11/2022 09:56:07       Buy             995.524194 UST            $1.00
03/11/2022 09:56:07       Buy             995.524194 UST            $1.00
03/11/2022 09:56:08       Buy             995.524194 UST            $1.00
03/11/2022 09:56:09       Buy             995.524194 UST            $1.00
03/11/2022 10:23:40       Buy            9224.257761 UST            $1.00
03/11/2022 13:13:25       Buy             70.599858 UST             $1.00
03/11/2022 13:24:15       Buy               2.954133 UST            $1.00
03/11/2022 13:33:17       Buy            4898.193944 UST            $1.00
03/11/2022 14:06:11       Buy                  24 UST               $1.00
03/11/2022 14:24:06       Buy               3.007374 UST            $1.00
03/11/2022 14:31:04       Buy               0.169687 UST            $1.00
03/11/2022 15:01:53       Buy             24.760633 UST             $1.00
03/11/2022 15:24:01       Buy               5.536803 UST            $1.00
03/11/2022 15:24:19       Buy             74.107206 UST             $1.00
03/11/2022 15:25:04       Buy               0.258471 UST            $1.00
03/11/2022 15:54:56       Buy               0.348048 UST            $1.00
03/11/2022 16:03:49       Buy             350.819188 UST            $1.00
03/11/2022 16:24:03       Buy               3.574521 UST            $1.00
03/11/2022 16:27:52       Buy               0.129577 UST            $1.00
03/11/2022 16:38:53       Buy               6.999999 UST            $1.00
03/11/2022 17:03:32       Buy               8.566765 UST            $1.00
03/11/2022 17:24:13       Buy               1.139175 UST            $1.00
03/11/2022 17:26:22       Buy              821.72751 UST            $1.00
03/11/2022 17:32:54       Buy             993.869436 UST            $1.00
03/11/2022 20:01:43       Buy              65.428766 UST            $1.00
03/11/2022 20:24:00       Buy               1.890416 UST            $1.00
03/11/2022 20:43:04       Buy             178.779069 UST            $1.00
03/11/2022 21:00:22       Buy             16.941339 UST             $1.00
03/11/2022 21:20:01       Buy               6.975585 UST            $1.00
03/12/2022 04:24:18       Buy               0.330533 UST            $1.00
03/12/2022 04:26:14       Buy               0.868039 UST            $1.00
03/12/2022 06:04:51       Buy             1270.00006 UST            $1.00
03/12/2022 07:04:08       Buy                   2 UST               $1.00
03/12/2022 07:15:19       Buy               1143.855 UST            $1.00
03/12/2022 07:18:40       Debit               92978 UST
03/12/2022 07:24:16       Buy               2.488348 UST            $1.00
03/12/2022 07:32:38       Buy             105.766933 UST            $1.00
03/12/2022 07:33:36       Buy               0.372537 UST            $1.00
03/12/2022 08:24:05       Buy               1.888224 UST            $1.00
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03/12/2022 09:28:37       Buy              11.952192 UST            $1.00
03/12/2022 09:49:44       Buy              298.189987 UST           $1.00
03/12/2022 09:50:20       Buy                1.040024 UST           $1.00
03/12/2022 10:28:21       Buy                5.745599 UST           $1.00
03/12/2022 10:47:52       Buy               999.74264 UST           $1.00
03/12/2022 11:01:35       Buy             145.510493 UST            $1.00
03/12/2022 12:24:01       Buy                0.741165 UST           $1.00
03/12/2022 12:48:18       Buy              11.238911 UST            $1.00
03/12/2022 12:51:50       Debit                 1585 UST
03/12/2022 14:18:52       Buy              48.504956 UST            $1.00
03/12/2022 14:24:02       Buy                1.500494 UST           $1.00
03/12/2022 14:35:45       Buy            12059.034303 UST           $1.00
03/12/2022 14:36:36       Buy              224.991585 UST           $1.00
03/12/2022 14:38:35       Buy                  608.45 UST           $1.00
03/12/2022 15:24:07       Buy                1.790712 UST           $1.00
03/12/2022 15:31:21       Buy                0.137232 UST           $1.00
03/12/2022 15:39:52       Buy               93.560091 UST           $1.00
03/12/2022 16:11:50       Buy               70.539554 UST           $1.00
03/12/2022 16:24:42       Buy              546.746658 UST           $1.00
03/12/2022 16:33:19       Buy              11.569616 UST            $1.00
03/12/2022 16:53:07       Buy              23.326732 UST            $1.00
03/12/2022 17:01:52       Buy                 3.96804 UST           $1.00
03/12/2022 17:22:22       Buy                15254.73 UST           $1.00
03/12/2022 18:24:12       Buy                1.065709 UST           $1.00
03/12/2022 18:40:09       Buy             3534.996876 UST           $1.00
03/12/2022 19:18:19       Buy              24.888003 UST            $1.00
03/12/2022 19:20:08       Buy                 160633 UST            $1.00
03/12/2022 19:24:13       Buy                0.574961 UST           $1.00
03/12/2022 19:46:10       Buy            14978.119403 UST           $1.00
03/12/2022 20:34:46       Buy                  18800 UST            $1.00
03/12/2022 21:41:59       Buy               99.797705 UST           $1.00
03/12/2022 22:17:09       Buy                5.626834 UST           $1.00
03/12/2022 22:24:13       Buy                0.227521 UST           $1.00
03/12/2022 23:24:10       Buy                0.158733 UST           $1.00
03/13/2022 02:00:03       Buy                33.63996 UST           $1.00
03/13/2022 02:33:53       Buy               98.579844 UST           $1.00
03/13/2022 02:34:02       Buy             104.678518 UST            $1.00
03/13/2022 03:20:58       Debit               227264 UST
03/13/2022 03:37:34       Buy              23.783809 UST            $1.00
03/13/2022 04:24:08       Buy                0.29878 UST            $1.00
03/13/2022 04:30:35       Buy                   27.5 UST            $1.00
03/13/2022 06:24:19       Buy                1.228161 UST           $1.00
03/13/2022 06:33:56       Buy                8.911968 UST           $1.00
03/13/2022 06:44:34       Buy               70.484581 UST           $1.00
03/13/2022 07:34:43       Buy              12.384808 UST            $1.00
03/13/2022 10:24:17       Buy                1.653082 UST           $1.00
03/13/2022 10:32:21       Buy                0.114581 UST           $1.00
03/13/2022 11:50:41       Buy               99.976985 UST           $1.00
03/13/2022 12:21:36       Buy                0.119392 UST           $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 18 of 26


03/13/2022 12:24:31       Buy               4.595507 UST            $1.00
03/13/2022 12:29:53       Buy               0.182183 UST            $1.00
03/13/2022 13:25:44       Buy             3486.561425 UST           $1.00
03/13/2022 14:23:31       Buy              154.780655 UST           $1.00
03/13/2022 16:24:09       Buy                1.08464 UST            $1.00
03/13/2022 18:35:09       Buy              104.984792 UST           $1.00
03/13/2022 18:51:00       Buy            40723.788143 UST           $1.00
03/13/2022 18:51:00       Buy            22745.113101 UST           $1.00
03/13/2022 19:24:09       Buy               0.595676 UST            $1.00
03/13/2022 20:53:09       Buy              98.681429 UST            $1.00
03/13/2022 21:24:10       Buy               3.047755 UST            $1.00
03/13/2022 21:27:44       Buy               0.158626 UST            $1.00
03/13/2022 21:28:06       Buy              38.028619 UST            $1.00
03/13/2022 22:24:09       Buy               0.600417 UST            $1.00
03/13/2022 22:50:19       Buy                  1000 UST             $1.00
03/13/2022 22:51:21       Buy                 10000 UST             $1.00
03/13/2022 22:51:48       Buy                 15000 UST             $1.00
03/13/2022 22:52:37       Buy                 15000 UST             $1.00
03/13/2022 22:53:46       Buy            1860.371933 UST            $1.00
03/13/2022 22:53:57       Buy            19930.56965 UST            $1.00
03/13/2022 22:53:57       Buy              996.528483 UST           $1.00
03/13/2022 22:53:57       Buy            18229.338432 UST           $1.00
03/14/2022 02:56:12       Debit              149625 UST
03/14/2022 04:15:31       Buy              378.674302 UST           $1.00
03/14/2022 05:13:34       Debit            379.555197 UST
03/25/2022 14:04:28       Buy               4.503992 UST            $1.00
03/25/2022 14:06:10       Debit             4.503992 UST
04/07/2022 23:03:49       Buy                 505.98 UST            $1.00
04/07/2022 23:03:49       Buy                1495.58 UST            $1.00
04/07/2022 23:03:49       Buy                 617.41 UST            $1.00
04/07/2022 23:03:49       Buy                 101.03 UST            $1.00
04/07/2022 23:03:49       Buy              1830.97402 UST           $1.00
04/08/2022 00:18:20       Buy               0.287432 UST            $1.00
04/08/2022 00:26:42       Buy            2509.357873 UST            $1.00
04/08/2022 00:45:02       Buy                 2497.5 UST            $1.00
04/08/2022 01:04:01       Buy            1441.880675 UST            $1.00
04/08/2022 01:13:26       Debit               11000 UST
04/08/2022 14:18:33       Buy            31191.005994 UST           $1.00
04/08/2022 14:20:33       Debit          31191.005994 UST
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
04/12/2022 13:48:16       Buy                   20 UST              $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 19 of 26


04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 20 of 26


04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
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04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
04/12/2022 13:48:16       Buy                20 UST                 $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 21 of 26


04/12/2022 13:48:16       Buy             1759.447785 UST           $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                64.64 UST              $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 100 UST               $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
04/12/2022 13:48:16       Buy                 20 UST                $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 22 of 26


04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy            7460.402254 UST            $1.00
04/12/2022 13:48:16       Buy                2247.1 UST             $1.00
04/12/2022 13:48:16       Buy                 4500 UST              $1.00
04/12/2022 13:48:16       Buy                 4500 UST              $1.00
04/12/2022 13:48:16       Buy                 4500 UST              $1.00
04/12/2022 13:48:16       Buy                 4500 UST              $1.00
04/12/2022 13:48:16       Buy                 4500 UST              $1.00
04/12/2022 13:48:16       Buy               1671.74 UST             $1.00
04/12/2022 13:48:16       Buy              5.262553 UST             $1.00
04/12/2022 13:48:16       Buy                 1000 UST              $1.00
04/12/2022 13:48:16       Buy               3618.62 UST             $1.00
04/12/2022 13:48:16       Buy            1303.348706 UST            $1.00
04/12/2022 13:48:16       Buy             2025.49092 UST            $1.00
04/12/2022 13:48:16       Buy             999.336956 UST            $1.00
04/12/2022 13:48:16       Buy             2500.49599 UST            $1.00
04/12/2022 13:48:16       Buy              0.498351 UST             $1.00
04/12/2022 13:48:16       Buy            15609.793665 UST           $1.00
04/12/2022 13:48:16       Buy            2517.148084 UST            $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy                  20 UST               $1.00
04/12/2022 13:48:16       Buy            19991.392779 UST           $1.00
04/12/2022 13:48:16       Buy             999.569639 UST            $1.00
04/12/2022 13:48:16       Buy            19991.392779 UST           $1.00
04/12/2022 13:48:17       Buy            19991.392777 UST           $1.00
04/12/2022 13:48:17       Buy            14197.584104 UST           $1.00
04/12/2022 13:48:52       Buy              7.521478 UST             $1.00
04/12/2022 13:50:39       Debit          143942.17882 UST
04/26/2022 14:59:10       Buy             706.060196 UST            $1.00
04/26/2022 14:59:10       Buy            7839.839389 UST            $1.00
04/26/2022 14:59:10       Buy            36833.543681 UST           $1.00
04/26/2022 14:59:11       Buy            3681.760064 UST            $1.00
04/26/2022 14:59:11       Buy            67645.752053 UST           $1.00
04/26/2022 14:59:12       Buy             6438.19188 UST            $1.00
04/26/2022 15:01:27       Buy            19990.031712 UST           $1.00
04/26/2022 15:01:27       Buy             999.501586 UST            $1.00
04/26/2022 15:01:28       Buy            19990.031712 UST           $1.00
        Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 23 of 26


04/26/2022 15:01:28       Buy             19990.031712 UST          $1.00
04/26/2022 15:01:28       Buy              999.501586 UST           $1.00
04/26/2022 15:02:25       Buy             7824.200188 UST           $1.00
04/26/2022 15:04:39       Buy                0.132737 UST           $1.00
04/26/2022 15:05:14       Buy             7106.732476 UST           $1.00
04/26/2022 15:05:17       Buy             7818.790396 UST           $1.00
04/26/2022 15:05:18       Buy             7821.664705 UST           $1.00
04/26/2022 15:05:19       Buy              7822.073233 UST          $1.00
04/26/2022 15:05:20       Buy             2151.648744 UST           $1.00
04/26/2022 15:05:20       Buy             5669.095082 UST           $1.00
04/26/2022 15:13:22       Buy               47.817114 UST           $1.00
04/26/2022 15:25:25       Buy             9990.009991 UST           $1.00
04/26/2022 15:26:42       Buy             2308.556755 UST           $1.00
04/26/2022 15:30:07       Debit          243674.966992 UST
04/26/2022 15:30:47       Buy             1954.272919 UST           $1.00
04/26/2022 15:35:04       Buy              278.148572 UST           $1.00
04/26/2022 15:35:35       Buy              3775.778677 UST          $1.00
04/26/2022 15:35:39       Buy             7856.924874 UST           $1.00
04/26/2022 15:41:21       Buy             7809.110483 UST           $1.00
04/26/2022 15:41:22       Buy                247.2052 UST           $1.00
04/26/2022 15:41:39       Buy             19990.036514 UST          $1.00
04/26/2022 15:41:39       Buy             19990.036514 UST          $1.00
04/26/2022 15:41:39       Buy             7429.181592 UST           $1.00
04/26/2022 15:57:03       Buy               19.218781 UST           $1.00
04/26/2022 16:14:18       Buy               12.005994 UST           $1.00
04/26/2022 16:28:29       Debit           69361.92012 UST
      Case 5:22-cv-03600-PCP Document 28-2 Filed 08/19/22 Page 24 of 26



                                 Certification Chart 4 - Ng

    Date&Time           Transaction                      Quantity      Price
04/26/2022 15:41:39        Buy                     12,560.854922 UST   $1.00
04/26/2022 15:41:39        Buy                       999.501826 UST    $1.00
04/26/2022 15:41:40        Buy                     19,990.036514 UST   $1.00
04/26/2022 15:41:40        Buy                       999.501826 UST    $1.00
04/26/2022 15:41:40        Buy                     19,990.036514 UST   $1.00
04/26/2022 15:41:40        Buy                     19,990.036514 UST   $1.00
04/26/2022 15:41:41        Buy                     19,990.036514 UST   $1.00
04/26/2022 15:41:41        Buy                     19,990.036514 UST   $1.00
04/26/2022 15:51:11        Buy                       359.192494 UST    $1.00
04/26/2022 15:53:41        Buy                        6.359597 UST     $1.00
04/26/2022 15:55:41        Buy                      2,305.343946 UST   $1.00
04/26/2022 15:55:46        Buy                       415.377129 UST    $1.00
04/26/2022 15:55:56        Buy                     12,876.956535 UST   $1.00
04/26/2022 15:55:58        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:58        Buy                       999.513155 UST    $1.00
04/26/2022 15:55:58        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:58        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:59        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:59        Buy                        124.79142 UST    $1.00
04/26/2022 15:55:59        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:59        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:55:59        Buy                       999.513155 UST    $1.00
04/26/2022 15:56:00        Buy                     19,990.26309 UST    $1.00
04/26/2022 15:56:03        Buy                      2,731.590926 UST   $1.00
04/26/2022 15:57:03        Buy                      7,677.39667 UST    $1.00
04/26/2022 15:57:03        Buy                        11.446553 UST    $1.00
04/26/2022 15:57:03        Buy                     24,623.833447 UST   $1.00
04/26/2022 15:57:23        Buy                        19.308691 UST    $1.00
04/26/2022 16:11:02        Debit                  307,592.506492 UST
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                           Certification Chart 5 - Ng
   Date &Time        Transaction                 Quantity        Price
  4/8/2022 4:09          Buy                    6727UST         1USDT
4/28/2022 12:44          Sell                   56.93ANC      1.845USDT
 4/30/2022 6:30          Sell                   55.76ANC      1.751USDT
 5/2/2022 13:00          Buy                    0.12 LUNA     83.75USDT
 5/3/2022 6:40           Sell                     58UST         1USDT
 5/3/2022 6:41           Buy                     0.2 LUNA     85.09USDT
 5/4/2022 13:01          Sell                    2641UST     0.9999USDT
 5/4/2022 13:01          Sell                   3995UST      0.9999USDT
 5/4/2022 13:01          Sell                     213UST     0.9999USDT
 5/4/2022 13:01          Sell                    2384UST     0.9999USDT
 5/4/2022 13:01          Sell                   5000UST      0.9999USDT
 5/4/2022 13:01          Sell                   3841UST      0.9999USDT
 5/4/2022 13:01          Sell                    2173UST     0.9999USDT
 5/4/2022 13:01          Sell                   3192UST      0.9999USDT
 5/4/2022 13:01          Sell                    2804UST     0.9999USDT
 5/4/2022 13:01          Sell                   3055UST      0.9999USDT
 5/4/2022 13:01          Sell                   14002UST     0.9999USDT
 5/4/2022 13:01          Sell                    2102UST     0.9999USDT
 5/4/2022 13:01          Sell                   3564UST      0.9999USDT
 5/4/2022 13:01          Sell                   16863UST     0.9999USDT
 5/4/2022 13:01          Sell                    7671UST     0.9999USDT
 5/4/2022 13:01          Sell                    4270UST     0.9999USDT
 5/4/2022 13:01          Sell                    4344UST     0.9999USDT
 5/4/2022 13:01          Sell                   16913UST     0.9999USDT
 5/4/2022 13:01          Sell                    2383UST     0.9999USDT
 5/4/2022 15:56          Sell                  101000UST     0.9999USDT
 5/4/2022 23:05          Sell                  229600UST     0.9999USDT
 5/5/2022 7:28           Sell                  104350UST     0.9999USDT
 5/5/2022 11:08          Sell                  104313UST        1USDT
5/11/2022 13:44          Sell                   15042UST    0.401864USDT
5/11/2022 13:44          Sell                   5555UST     0.401864USDT
5/11/2022 13:44          Sell                   1440UST     0.402101USDT
5/11/2022 13:44          Sell                     857UST    0.402099USDT
5/11/2022 13:44          Sell                     111UST    0.402099USDT
5/11/2022 13:44          Sell                     857UST    0.402101USDT
5/11/2022 13:44          Sell                     103UST    0.402119USDT
5/11/2022 13:44          Sell                   3618UST      0.40212USDT
5/11/2022 13:44          Sell                     50UST     0.402461USDT
5/11/2022 13:44          Sell                     858UST    0.402097USDT
5/11/2022 13:44          Sell                   14977UST    0.401864USDT
5/11/2022 13:45          Sell                     70UST     0.401864USDT
5/11/2022 13:45          Sell                   3275UST     0.401864USDT
5/11/2022 13:45          Sell                   5891UST     0.401773USDT
5/11/2022 13:45          Sell                   10018 UST   0.401864USDT
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5/11/2022 13:45         Sell               707 UST        0.401864 USDT
5/11/2022 13:45         Sell              2621 UST        0.401864 USDT
5/11/2022 13:45         Sell              3903 UST        0.401864 USDT
5/11/2022 13:45         Sell               763 UST        0.401864 USDT
5/11/2022 13:45         Sell              5750 UST        0.401864 USDT
5/11/2022 13:45         Sell              1990 UST        0.401864 USDT
5/11/2022 13:45         Sell             65980 UST        0.401864 USDT
5/11/2022 13:45         Sell              2488 UST        0.401864 USDT
5/11/2022 13:45         Sell               346 UST        0.401864 USDT
5/11/2022 13:46         Buy             7327.58 LUNA         2.52 USDT
5/11/2022 13:46         Buy               999 LUNA           2.52 USDT
5/11/2022 13:46         Buy              4.09 LUNA           2.52 USDT
5/11/2022 13:46         Buy              39.83 LUNA          2.52 USDT
5/11/2022 13:46         Buy              19.85 LUNA          2.52 USDT
5/11/2022 13:46         Buy              136.3 LUNA          2.52 USDT
5/11/2022 13:46         Buy            12952.14 LUNA         2.52 USDT
5/11/2022 13:46         Buy              23.49 LUNA          2.52 USDT
5/11/2022 13:46         Buy               228 LUNA           2.52 USDT
5/11/2022 13:46         Buy             1546.18 LUNA         2.52 USDT
5/11/2022 13:46         Buy               7.97 LUNA          2.52 USDT
5/11/2022 13:46         Buy             201.31 LUNA          2.52 USDT
